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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

DENNIS HARRIS,                                     )
                                                   ) No. 15-cv-05040
     Plaintiff,                                    )
                                                   ) Judge Marvin E. Aspen
v.                                                 )
                                                   ) Magistrate Judge Daniel G. Martin
C/O SHAW, et al.,                                  )
                                                   )
     Defendants.                                   )

      DEFENDANTS’ MOTION TO DISMISS PLAINTIFF’S AMENDED COMPLAINT

           NOW COME Defendants C/O SHAW, TARRY WILLIAMS, MICHAEL MAGANA,

MICHAEL LEMKE, KEVIN SENORE, RABADEAU, LIEUTENANT DUMAS, and

LIEUTENANT JACOBS, by and through their attorney LISA MADIGAN, Attorney General of

the State of Illinois, and submit the following Motion to Dismiss Plaintiff’s Amended Complaint

pursuant to Fed. R. Civ. P. 12(b)(6) and state as follows:

           I.      Introduction

           Plaintiff Dennis Harris is an inmate currently incarcerated at Lawrenceville Correctional

Center. (Am. Compl. at 9, Dkt. No. 29.).1 In his Amended Complaint, Plaintiff alleges that on

January 9, 2014, while incarcerated at Stateville Correctional Center, he was interviewed by

Defendant Shaw regarding the alleged assault of a prisoner a few days earlier. (Id. at 4.)

According to Plaintiff, other inmates became aware that he was to be interviewed by Shaw. (Id.

at 4-5.) Plaintiff alleges that he informed Shaw that he feared for his safety because Shaw “made

[Plaintiff] look like a snitch,” and Plaintiff requested that he be moved from his cell block to


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 Plaintiff failed to submit his compliant in numbered paragraphs, so references to the Amended
Complaint direct the Court to the page number of that document.
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keep him safe. (Id. at 5.) Plaintiff alleges that Shaw did not move Plaintiff from the cell block, as

Plaintiff requested. (Id.) Plaintiff further alleges that Shaw did not relay Plaintiff’s concerns to

Stateville’s placement officer, despite Plaintiff’s request that Shaw do so. (Id.) At no point in the

Amended Complaint, however, does Plaintiff allege that he informed Shaw of any particular

threats or potential assailants.

        Plaintiff further alleges that after his interview with Shaw, he received “several threats

from anonymous prisoners” in retaliation for speaking with Shaw. (Id.) Harris alleges that he

wrote letters to Shaw, Rabadeau, and “the Warden of Stateville,” 2 requesting that he be moved

off of his cell block. Plaintiff further alleges that he submitted an emergency grievance to

Defendant Kevin Senor in his capacity of Warden’s designee, and did not receive a timely

response. Plaintiff goes on to allege that after he failed to receive a prompt response to his

emergency grievance to Senor, he again wrote to Shaw, “the Warden of Stateville,” as well as

Rabadeau, asking that he be placed into protective custody. (Id. at 5-6.) Plaintiff fails to allege

that he was aware of any specific threat to his safety; nor does he aver that he informed any of

these Defendants of any identifiable danger to his person.

        Finally, in an Addendum submitted by the Plaintiff, Plaintiff alleges that he related his

alleged “fears for [his safety after being labled [sic] a snitch” to Defendants Lt. Dumas and Lt.

Jacobs. (Id. at 10.) According to Plaintiff, Defendants Dumas and Jacobs told Plaintiff to “write

and seek out assistance from the Placement Officer, c/o Shaw, and the Stateville CC warden.”


2
 In his Amended Complaint, Plaintiff refers only to “the Warden” or “the Warden of Stateville.”
Although Plaintiff names as defendants three former Stateville Wardens—Defendants Magana, Williams,
and Lemke—Magana was the only Warden who occupied this position during the period in which the
alleged Eighth Amendment violations took place. Warden Magana was appointed Acting Warden on
January 1, 2014, and then served as Warden from January 17, 2014 through March 31, 2014. Plaintiff
alleges that the events alleged in his Amended Complaint took place between January 7, 2014 and
February 16, 2014.
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(Id.). Harris alleges that he followed these instructions, but was not provided with the protection

he asked for. (Id.) Plaintiff again fails to allege that he relayed any specific fears to Jacobs or

Harris, or that he forwarded such concerns to Rabadeau, Shaw, or the Warden.

       Plaintiff alleges that, as a result of the inaction of the Defendants, he suffered injuries

from a beating from an unnamed assailant who uttered the word “snitch” during the assault. (Id.

at p. 6.) Plaintiff now brings suit against all Defendants, claiming that through their actions and

inactions they violated their duty to protect Plaintiff from being assaulted.

       II.     Standard

       “A motion under Rule 12(b)(6) tests whether the complaint states a claim on which relief

may be granted.” Richards v. Mitcheff, 696 F.3d 635, 637 (7th Cir. 2012). Although in resolving

a motion to dismiss the Court should assume the truthfulness of a plaintiff’s well-pleaded factual

allegations, the Court need not accept that all of the plaintiff’s legal conclusions are true.

Ashcroft v. Iqbal, 677-79 (2009). “Threadbare recitals of the elements of a cause of action,

supported by mere conclusory statements, do not suffice.” Id. at 678. Instead, a complaint

survives a motion to dismiss only when it contains “sufficient factual matter, accepted as true, to

‘state a claim to relief that is plausible on its face.’” Id. at 678 (quoting Bell Atlantic v. Twombly,

550 U.S. 544, 570 (2007)). Additionally, some factual allegations may be so sketchy or

implausible that they fail to provide sufficient notice of a plaintiff’s claim. Brooks v. Ross, 578

F.3d 574, 581 (7th Cir. 2009); St. John’s United Church of Christ, 502 F.3d at 625. Finally,

“courts should not accept as adequate abstract recitations of the elements of a cause of action or

conclusory legal statements.” Brooks, 578 F.3d at 581.




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          III.   Argument

          Prison officials have a duty to protect inmates from violence inflicted by other inmates.

Farmer v. Brennan, 511 U.S. 825, 833 (1994). To establish an Eighth Amendment claim based

on the failure to protect, a plaintiff must show: (1) that he suffered an objectively “sufficiently

serious” injury; and (2) that he was “incarcerated under conditions posing a substantial risk of

serious harm.” Id. at 834; see also Borello v. Allison, 446 F.3d 742, 747 (7th Cir. 2006). The

plaintiff must also show that the defendant had the requisite state of mind: deliberate

indifference. A prison official is liable under the Eighth Amendment only if “he knows that

inmates face a substantial risk of serious harm and disregards that risk by failing to take

reasonable measures to abate it.” Farmer, 511 U.S. at 847. To allege deliberate indifference to a

substantial risk of serious harm, the plaintiff must allege that the defendant had actual

knowledge of a specific threat. Guzman v. Sheahan, 495 F.3d 852, 858 (7th Cir. 2007) (emphasis

added).

          Recently, the Seventh Circuit affirmed summary judgment in favor of defendant prison

officials on a failure to protect claim where the plaintiff inmate “never informed jail officers of a

specific threat to his life,” but instead informed officials that he was “afraid” and “wanted to be

moved.” Grieveson v. Anderson, 538 F.3d 763, 776-77 (7th Cir. Aug. 18, 2008). The court stated

that it was not enough that the inmate informed jail officials that “he had been assaulted by

another inmate and that he wanted to be moved to another cell block” without providing more

specific information, such as the identities of the threatening inmates. Id. The “vague

information” provided by the inmate “did not put the jail officers on notice of a specific threat to

[the inmate’s] safety.” Id. The Grieveson decision serves to reinforce the Seventh Circuit’s

previous holdings that prison officials must possess actual knowledge of a specific threat to incur
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liability under the Eighth Amendment for the failure to protect. Similarly, in Guzman the court

affirmed summary judgment in favor of defendant prison officials where, prior to an attack by

another inmate, the plaintiff failed to inform prison officials that the attacking inmate “might be a

specific danger to him.” Guzman, 495 F.3d at 857.

       District Court decisions also emphasize the necessity of specific knowledge in failure to

protect cases. In Bolden v. Ramos, the court held that the defendant correctional officers did not

violate the plaintiff’s Eighth Amendment rights where the officers had no knowledge of a

specific threat. 1996 WL 66135, at *6 (N.D. Ill. Feb. 13, 1996) (J. Castillo). The Court indicated

that the plaintiff’s “prior involvement in an altercation with other inmates . . . is simply not

enough” where the officers had no knowledge of those inmates’ identities and the plaintiff did

not claim that the same inmates attacked him again. Id. Similarly, in Anderson v. Godinez, 1997

WL 786653, *2 (N.D. Ill. Dec. 13, 1997) (J. Holderman), the court held that the prison officials

were not liable under the Eighth Amendment where the plaintiff admitted “that he never named

particular inmates whom he feared might attack him.” The court stated:

       Although [the plaintiff] had expressed fear for his safety and objected to being
       placed again in B-West, he admits that he did not know who had attacked him the
       first time and only expressed a general fear of assault. . . [L]iability depends upon
       the defendant’s knowledge of a definite and specific threat, not mere awareness of
       the possibility of attack.

Id. (citing Lewis v. Richards, 107 F.3d 549, 553 (7th Cir. 1997)).

       Plaintiff’s Amended Complaint should be dismissed because he failed to allege that any

Defendant had actual knowledge of a specific threat to Plaintiff’s safety. Taking Plaintiff’s

allegations as true, he merely informed Shaw that he wanted to be moved out of E-House

because he was afraid of “harm or any type of repercussion” based on the possibility that he was

“seen by several inmates while [Plaintiff] was in the Internal Affairs Office.” (Am. Compl. at 4-
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5, Dkt. No. 29.) And although the Amended Complaint alleges that the inmate who beat Plaintiff

used the word “snitch” during the assault, Plaintiff does not allege that he gave Shaw any

information about a definite and specific threat against him.

        Plaintiff next alleges that he received “several threats from anonymous prisoners,” and

wrote grievances and letters to Defendants Rabadeau, “the Warden,” Senor, and Shaw asking to

be moved out of E-House and/or into protective custody. (Id.) Again, Plaintiff fails to allege that

he indicated any particular threats to any of these defendants. Furthermore, Plaintiff pleads

himself out of court in his reference to threats from “anonymous prisoners.” In so pleading,

Plaintiff concedes that even he could not identify a potential assailant that posed a danger to him;

thus it is implausible that any of the Defendants could be expected to identify a particular threat

to Plaintiff.

        Finally, with respect to Defendants Dumas and Jacobs, Plaintiff alleges only that he

spoke with them about “fearing for my safety after being labled [sic] a snitch.” (Id. at 10.) Again,

he makes no allegation that he identified any particular threat of which he was aware, or of a

particular assailant. The same is true of Plaintiff’s allegation that he wrote to Rabadeau, Shaw,

and the Warden at Jacobs and Dumas’s suggestion; at no point does he indicate that he informed

those defendants of a particular threat, or that he even had a particular threat in mind.

        These allegations are directly comparable to the situation before the Seventh Circuit in

Butera v. Cottey, 285 F.3d 601, 606 (7th Cir. 2002). In that case, the court affirmed summary

judgment in favor of defendant prison officials where the plaintiff failed to inform prison

officials of the identity of the threatening inmates. The plaintiff’s statements to prison officials

that he “was scared” and “needed off the block” were insufficient to “give the Sheriff actual

notice of a specific risk of serious harm so as to find the Sheriff deliberately indifferent for
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failing to take appropriate steps to prevent the assault.” Id. (emphasis in original); see also Lewis,

107 F.3d at 553. The same is true here; Plaintiff’s vaguely worded complaint indicates that even

he had no indication of a particular threat to his safety, and that even if he was aware of such a

danger, he did not communicate this knowledge to any Defendant.

       WHEREFORE, based on the foregoing, Defendants respectfully request this Honorable

Court to dismiss all claims against them, and for such further relief the Court finds reasonable

and just.



                                                      Respectfully submitted,



LISA MADIGAN                                          /s/ Jeffrey J. Freeman______
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                                      CERTIFICATE OF SERVICE


            TO: Dennis Harris (#N-66154)
                Lawrence Correctional Center
                10940 Lawrence Road
                Sumner, IL 62466

            The undersigned certifies that on December 10, 2015, the foregoing document was

served upon the above individual via U.S. first class mail, proper postage prepaid.

                                                       /s/ Jeffrey J. Freeman




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